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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF-MARYLAND
                                             ... -   -'




 UNITED STATES OF AMERICA                                 *
                                                          *
          v.                                              *   CRIMINAL    NO. RDB-17-0288
                                                          *
 NATHANIEL           THOMAS OAKS                          *   (Wire Fraud, 18 U.S.c. ~ 1343; Honest
                                                          *   Services Wire Fraud, 18 U.S.c. ~~ 1343,
          Defendant                                       *   1346; Travel Act, 18 U.S.c. ~ 1952;
                                                          *   Obstruction of Justice, 18 U.S.c.
                                                          *   ~ 1512(e)(2); Forfeiture, 18 U.S.c. ~~
                                                          *   981(a)(I)(C), 21 U.S.c. ~ 853, and 28
                                                          *   U.S.c. ~ 2461(c»
                                                          *
                                                          *
                                                 *******
                                  SUPERSEDING             INDICTMENT

                               COUNTS ONE THROUGH                   THREE
                                       (Wire Fraud)

         The Grand Jury for the District of Maryland charges that:

         At all times relevant to this Indictment:

                                             Introduction

         1.       The General Assembly was the State of Maryland's legislative body. The

bicameral legislature was composed of the Senate, with 47 Senators, and the House of Delegates,

with 141 Delegates.

         2.       The United States Department of Housing and Urban Development ("HUD") was

a federal department that, among other things, provided funding in the form of grants for housing

developments and projects in distressed neighborhoods.




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       3.       Maryland state law prohibited a person from giving a public employee, and

prohibited a public employee from demanding or receiving a bribe, fee, reward or testimonial in

exchange for influencing the perfomlance of the official duties of the public employee, or

neglecting or failing to perform the official duties of the public employee, as provided by

Maryland Code, Criminal Law,     S 9-201.
       4.       The defendant, NATHANIEL THOMAS OAKS ("OAKS"), was a Maryland

State Delegate from 1994 until Febmary 10, 2017, and then was a Maryland State Senator. Both

as a Delegate and as a Senator, OAKS represented District 41, which covered a portion of the

City of Baltimore, Maryland.

       5.       The State of Maryland and its citizens had an intangible right to the honest

services of its elected public officials. As a Delegate and as a Senator of the General Assembly,

OAKS owed the State of Maryland and its citizens a duty to, among other things, refrain from

receiving bribes in exchange for OAKS' official actions and influence.

       6.       "Mike" was a confidential human source posing as a developer from Texas who

was interested in generating and obtaining business in the State of Maryland.

                                     The Scheme To Defraud

       7.       Beginning in or about April, 2016, and continuing until in or about January, 2017,

in the District of Maryland and elsewhere, the defendant,

                                NATHANIEL THOMAS OAKS

knowingly and willfully devised and intended to devise, and participated in, a scheme and

artifice to defraud HUD by means of materially false and fraudulent pretenses, representations

and promises.




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                                 Purpose of the Scheme to Defraud

         8.      It was the purpose of the scheme for OAKS to use his official influence and

position as a member of the General Assembly and to enrich himself by accepting cash payments

in exchange for making false and fraudulent representations to HUD in order for Mike to obtain

certain grant funding for a housing development project in Baltimore.

                          Manner and Means of the Scheme to Defraud

         9.      It was part of the scheme to defraud that OAKS agreed to accept cash payments

from Mike in exchange for his agreement to use his official position and influence as a member

of the General Assembly in ways that would help Mike advance his business and financial

interests.

         10.     It was further part of the scheme to defraud that, in order to avoid detection and to

conceal the true nature of their relationship, OAKS would often speak in code to Mike when

discussing details of the scheme over the telephone.

         11.     It was further part of the scheme to defraud that on or about April 7, 2016, OAKS

issued a letter on his official House of Delegates letterhead to a person whom he believed to be a

HUD official which contained materially false and fraudulent representations in order to assist

Mike in obtaining federal grant funds from HUD.

         12.     It was further part of the scheme to defraud that on or about April 28, 2016, in a

telephone conversation with a person whom he believed to be a HUD official working with

"John Knox," OAKS made false and fraudulent statements and representations, including that he

was familiar with other projects that Mike had completed, that he had known Mike for a number




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of years, and that he had personally spoken to officials in other jurisdictions about projects that

Mike had completed whcn, in fact, OAKS kncw that none of those statements were true.

        13.     It was further part of the scheme to defraud that on or about May I 1,2016, while

in a hotel room in Baltimore, Maryland, OAKS acccpted $5,300 in cash from Mikc.

        14.     It was further part of the scheme to defraud that on or about July 21,2016, OAKS

issued a lettcr on his official Housc of Delegates letterhead to "John Knox," a person whom he

bclieved to be a HUD official, that contained the materially false and fraudulent representation

that OAKS had pre-filed legislation for the 2017 Maryland General Assembly that would secure

state funding for Mike's housing project.

        15.     It was further part of the scheme to dcfraud that, in order to avoid detection and to

conceal the scheme to defraud, OAKS oftcn used a cellular telephone, provided by Mikc, to

engagc in conversations with Mike about the details of the scheme.

        16.     It was further part of the scheme to dcfraud that on or about July 21,2016, while

in a hotel room in Baltimore, Maryland, OAKS acceptcd $5,000 in cash from Mike.

                                  Exccution of the Schemc and Artifice

        17.     On or about the dates set forth below, in the District of Maryland and elsewherc,

the defendant

                                 NATHANIEL       THOMAS OAKS

for the purpose of executing and attempting to cxccute the scheme and artifice to dcfraud, did

transmit and causc to be transmitted by means of wire and radio communication in interstate

commerce, writings, signs, signals, pictures, and sounds, as described below:




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COUNT                   DATE                 TRANSMISSION           TO/FROM

                                           Letter from Delegate     Sent from Annapolis,
                                           NATHANIEL                Maryland to Chicago,
       I               417/16              THOMAS OAKS to           Illinois via facsimile
                                           Mr. John Knox
                                           regarding a proposal
                                           byRMH
                                           Developments to the
                                           United States
                                           Department of
                                           Housing and Urban
                                           Develooment
       2               4/28/16             Telephone call to        To Maryland from
                                           cellular telephone       Illinois
                                           number used by
                                           NATHANIEL
                                           THOMAS OAKS
                                           Letter from Delegate     Sent from Owings
                                           NATHANIEL                Mills, Maryland to
       3                7/21/16            THOMAS OAKS to           Chicago, Illinois via
                                           Mr. John Knox            facsimile
                                           regarding pre-filed
                                           legislation for state
                                           funding relating to an
                                          .RMH Developments
                                           housing oroiect


18 U.S.c.   !l 1343




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                                         COUNT FOUR
                                  (Honest Services Wire Fraud)

        The Grand Jury for the District of Maryland further charges that:

        I.      Paragraphs I through 16 of Counts One through Three of this Superseding

Indictment are re-alleged and incorporated herein by reference.

        2.      A "bond bill" was legislation filed by a member of the General Assembly to

obtain State of Maryland funding for local capital projects. Such projects could include, but

were not limited to, health facilities, historic preservation projects, museums and sports and

recreation facilities. A bond bill was not submitted as part of the Governor's capital budget and

therefore, for such funding to be considered by the General Assembly, it had to be introduced by

both a member of the House of Delegates and a member of the Senate.

        3.     The Maryland Department of Legislative Services ("DLS") was a Maryland

governmental entity, created pursuant to Maryland Code, State Government,      S 2-1202   et seq.,

which provided legal, fiscal, committee, research, reference, auditing, administrative, and

technological support to the members of the Maryland General Assembly and its committees.

These services included the drafting of legislation for legislators.

                                            The Scheme

       4.       Beginning in or about September, 2016, and continuing until in or about January,

2017, in the District of Maryland and elsewhere, the defendant,

                                 NATHANIEL        THOMAS OAKS

knowingly and willfully devised and intended to devise, and participated in, a scheme to defraud

the State of Maryland and its citizens by depriving them of their intangible right to his honest

services as an elected legislator in the Maryland General Assembly.




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                                      Purpose of the Scheme

          5.   It was the purpose of the schemc for OAKS to sccretly use his official positon to

enrich himself by accepting cash bribe payments from Mike in exchange for favorable official

action.

                                       Manner and Means

          6.   It was part of the scheme that OAKS agreed to use his official position as a

member of the Maryland General Assembly to file a request for bond bill legislation with DLS in

exchange for a cash bribe payment from Mike.

          7.   It was further part of the scheme that on or about Scptcmber 22, 2016, OAKS

accepted $5,000 in cash from Mike in a hotel room in Baltimore, Maryland in exchange for his

agreement to file a request for a bond bill that same day with DLS for thc 2017 Maryland

General Assembly Session.

          8.   It was further part of the scheme that on or about Septcmber 22, 2016, OAKS

submitted a request, in person, to DLS for the drafting oflegislation   in thc form of a bond bill for

the 2017 Maryland General Assembly Session that would authorize the issuance of state funds to

a company associated with Mike in the amount of $250,000 for the "Multi-Family Housing

Development at Dmid Park Lake."

          9.   It was further part of the scheme that on or about November 17, 2016, OAKS

received a copy of the draft of the bond bill from DLS.




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                                      Execution of the Scheme

       10.        On or about November 21, 2016, in the District of Maryland and elsewhere, the

defendant

                                 NATHANIEL THOMAS OAKS

for the purpose of executing and attempting to execute the scheme, did transmit and cause to be

transmitted by means of wire and radio communication in interstate commerce, writings, signs,

signals, pictures, and sounds, to wit: an e-mail communication from NATHANIEL THOMAS

OAKS to Mike at rmhdevelopments@I,'1llail.com, forwarding a copy of Draft Bill LR0680

entitled "Creation of a State Debt- Baltimore City - Multifamily Housing Development at Druid

Lake Park" from Maryland through a server located outside the State of Maryland.


18 U.S.c.   SS   1343, 1346




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                                 COUNTS FIVE THROUGH NINE
                                         (Travel Act)

           The Grand Jury for the District of Maryland further charges that:

           I.     Paragraphs I through 16 of Counts One through Three, and paragraphs 2 through

3 and 5 through 9 of Count Four of this Superseding Indictment are re-alleged and incorporated

herein by reference.

           2.     From in or about September, 2016, and continuing until in or about January,

2017, OAKS engaged in an arrangement with Mike pursuant to which OAKS would receive and

agreed to receive cash bribe payments in order to influence the performance of his official duties

as a member of the Maryland General Assembly.

           3.     On or about the dates listed below, in the District of Maryland and elsewhere, the

defendant

                                   NATHANIEL THOMAS OAKS

did use and cause to be used a facility in interstate commerce as described below, with the intent

to promote, manage, establish, carryon, and facilitate the promotion, management, establishment

and carrying on of an unlawful activity, to wit: bribery in violation of Maryland Code, Criminal

Law   S 9-201;   and thereafter did perform and cause the perfonnance and attempted performance

of an act to promote, manage, establish and carryon, and to facilitate the promotion,

management, establishment and carrying on of said unlawful activity, as described below:




 COUNT                       DATE                      USE OF                  TO/FROM
                                                       INTERSTATE
                                                       FACILITY
       5                     9/12/16                   Cellular telephone      Call to Mike from
                                                                               OAKS
       6                     9/15/16                   Cellular telephone      Call to OAKS from
                                                                               Mike


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 COUNT                   DATE             USE OF               TO/FROM
                                          INTERSTATE
                                          FACILITY
      7                  9/19/16          Cellular telephone   Call to Mike from
                                                               OAKS
      8                  11/3/16          Cellular telephone   Call to OAKS from
                                                               Mike
      9                  11/21/16         Cellular telephone   Call to Mike from
                                                               OAKS


18 U.S.C. ~ I952(a)(3) and (b)(2)




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                                           COUNT TEN

                                      (Obstruction    of Justice)


       The Grand Jury for the District of Maryland further charges that:


        1.       Paragraph 1 and Paragraphs 3 through 5 of Count One of this Superseding

Indictment are re-alleged and incorporated herein by reference.


       2.        On or about January 9, 2017, OAKS agreed to cooperate with the Federal Bureau

of Investigation ("FBI") in an investigation of Person # 1 for possible violations of federal

criminal laws.


       3.        As part of that cooperation, and at the direction of the FBI, OAKS covertly

recorded his telephone conversations and in-person meetings with Person # I beginning on

January 9,2017 and continuing until March 30, 2017.


       4.        OAKS knew and understood that in connection with the investigation of Person

#1, he could be required to testify in a future official proceeding about his cooperation and his

contacts with Person # 1.


       5.        On or about March 17, 2017, without recording or disclosing the existence of the

conversation to the FBI, OAKS approached Person #1 at a bar in Annapolis and told him "what

we talked about, just say no," or words to that effect, with the intent to dissuade Person #1 from

engaging in the activity that was the subject of the criminal investigation and which activity

OAKS and Person #1 had discussed in a recorded conversation earlier that day.


       6.        On or about March 30, 2017, without recording or disclosing the existence of the

conversation to the FBI, OAKS approached Person # 1 in the hallway of a State government


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building in Annapolis and said "I'm going to ask you for something, just say no," or words to

that effect, with the intcnt to dissuade Person # I from engaging in the activity that was the

subject of the criminal investigation and which activity OAKS and Person # I had discussed in

earlier recorded conversations.


       7.      Person #1 understood from OAKS' statements on March 17 and March 30, 2017,

that OAKS intended to and did warn him that he should not engage in the activity with OAKS

that they had discussed because there was a criminal investigation underway.


       8.      From on or about March 17, 2017, until on or about March 30, 2017, in the

District of Maryland and elsewhere, the defendant


                                  NATHANIEL THOMAS OAKS

attempted to and did corruptly obstruct, influence and impede an official proceeding, namely a

federal Grand Jury investigation that would foreseeably result from the FBI's investigation of

possible violations of federal criminal laws.


18 u.s.c. ~ 1512(c)(2)




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                                             FORFEITURE

        The Grand Jury for the District of Maryland further finds that:

         I.     Upon conviction of the offenses in violation of Title 18, United States Code,

~~ 1343, 1346, as set forth in Counts One through Four of this Superseding Indictment, and ~

I952(a)(3) and (b)(2), as set forth in Counts Five through Nine, the defendant,

                                 NATHANIEL THOMAS OAKS

shall forfeit to the United States, pursuant to Title 18, United States Code, Section 98l(a)(I)(C),

Title 21, United States Code, Section 853, and Title 28, United States Code, Section 2461(c), any

property, real and personal, which constitutes and is derived from proceeds traceable to such

violations, including but not limited to a   SUlll   of money equal to the value of the proceeds of the

schemes to defraud as described in Paragraphs 1 through 16 of Counts One through Three and

paragraphs 2 through 3 and 5 through 9 of Count Four, which amount is at least $15,300.

                                         Substitute         Assets

        2.      If, as a result of any act or omission of the defendant, any such property subject to

forfeiture:

               a.      cannot be located upon the exercise of due diligence;

               b.      has been transferred or sold to, or deposited with, a third person;

               c.      has been placed beyond the jurisdiction of the Court;

               d.      has been substantially diminished in value; or

               e.      has been commingled with other property which cannot be divided
                       without difficulty;




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it is the intent of the United States of America, pursuant to 21 U.S.c.   S 853(P),   to seek forfeiture

of any other property of said defendants up to the value of the forfeitable property.


18 U.S.c.   S 98 I(a)(1)(C)
21 U.S.c.   S 853
28 U.S.C.   S 2461(c)




                                              J&fuo ~ d.4~I £cJ2...-
                                               STE EN M. SCHNNING
                                              ACTING UNITED STATES ATTORNEY
                                                                                                 1;C       I




A TRUE BILL:
                                                                                -
                                           S!GNATURE REDACTED
Date                                           Foreperson




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